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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                        §
                                                §
vs.                                             §   CRIMINAL NO: SA:20-CR-00324(2)-XR
                                                §
(2) RUBI ESMERALDA MONSIVAIS                    §

                                         ORDER

       On this day came on to be considered Defendant’s Unopposed Motion to Continue

Sentencing scheduled for October 25, 2021 . Upon consideration, the Court is of the opinion

that the motion should be GRANTED.

       It is hereby ORDERED that Defendant’s Unopposed Motion to Continue Sentencing

(Doc. #95) is GRANTED.

       It is FURTHER ORDERED that the above entitled and numbered cause is rescheduled

for Sentencing on Monday, December 13, 2021, at 1:30 PM in Courtroom Number 3, First

Floor of the John H. Wood, Jr., United States Courthouse, 655 E. Cesar Chavez Boulevard., San

Antonio, Texas.

       Signed this 24th day of October, 2021.




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                                                XAVIER RODRIGUEZ
                                                UNITED STATES DISTRICT JUDGE
